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                                                 U.S. Department of Justice


                                                 United States Attorney
                                                 Eastern District of New York
FTB                                              271 Cadman Plaza East
F. #2022R00795                                   Brooklyn, New York 11201



                                                 November 10, 2022

By Hand and ECF

The Honorable Dora L. Irizarry
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

              Re:      United States v. Kara Sternquist
                       Criminal Docket No. 22-473 (DLI)

Dear Judge Irizarry:

             In compliance with the Court’s direction in the above-referenced case, the
government has served by the attached email the Court’s order that the U.S. Bureau of
Prisons (“BOP”) change the top-line gender classification of the defendant from male to
female on BOP counsel, including Deputy Regional Counsel for the Northeast Regional
Office. Thank you for the Court’s attention to this matter.

                                                 Respectfully submitted,

                                                 BREON PEACE
                                                 United States Attorney

                                          By:       /s/ F. Turner Buford
                                                 F. Turner Buford
                                                 Andy Palacio
                                                 Assistant U.S. Attorneys
                                                 (718) 254-7000


cc:    Allegra Glashausser, Esq. (by ECF and E-mail)
